     Case 2:20-cv-06298-JWH-E Document 98 Filed 03/24/21 Page 1 of 3 Page ID #:2603




 1 Robert Tauler (SBN 241964)
   rtauler@taulersmith.com
 2 Tauler Smith, LLP
   626 Wilshire Boulevard, Suite 510
 3 Los Angeles, California 90017
   Tel: (310) 590-3927
 4
      Attorneys for Plaintiff
 5    ENTTech Media Group LLC
 6
 7
 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
       ENTTECH MEDIA GROUP LLC                 Case No. 2:20-cv-06298-JWH (Ex)
11
                   Plaintiff,                  Assigned to Hon. John W. Holcomb
12                                             Courtroom 2
              v.
13                                             PLAINTIFF’S OBJECTION TO
       OKULARITY, INC., et al.                 “NOTICE OF BANKRUPTCY”
14                                             [DKT. 95]
                   Defendants.
15
16

17
18
19
20
21
22
23
24

25
26
27
28
                                OBJECTION TO “NOTICE OF BANKRUPTCY”
     Case 2:20-cv-06298-JWH-E Document 98 Filed 03/24/21 Page 2 of 3 Page ID #:2604




 1                    OBJECTION AND SUGGESTION TO STRIKE
 2         Plaintiff ENNTech Media Group objects to the “Notice of Bankruptcy” filed by
 3 “Splash News and Picture Agency” (“Defendant”)(Dkt. 95). Attached as Exhibit A to
 4 the “Notice of Bankruptcy” is a printout of from the docket of the bankruptcy case
 5 which refers to a different legal entity on its face. The entity that filed for bankruptcy is
 6 called “Splash News & Picture Agency,” who is not a party to this case.
 7         Although the names are similar (the word “and” is replaced with an ampersand) it
 8 has been made clear by counsel for “Splash News and Picture Agency” that the two
 9 entities are in fact very, very different.     In fact, counsel for Defendant argued in
10 November that ENTTech should be sanctioned because it “attempted to serve Splash
11 News and Picture Agency LLC at the agent for service of process for Splash News &
12 Picture Agency LLC, a different entity.” (Dkt 39-1 page ID 397-398)(emphasis added).
13         The declaration supporting this assertion also made it appear as though counsel
14 for Defendant only learned of the existence of the bankrupt splash in November of 2020,
15 stating “I investigated further and realized that there are two entities, Splash News and
16 Picture Agency LLC and Splash News & Picture Agency LLC registered in California.”

17 (Dkt. 39-2 at ¶¶ 2-4, Ex. B). Thus, counsel for Defendant is perfectly aware that the
18 bankruptcy petition filed yesterday has no bearing on this case or the pending motions.
19         The bankruptcy of an unrelated entity does not have any impact on these
20 proceedings. Therefore, Plaintiff respectfully OBJECTS to the “Notice of Bankruptcy”
21 on the grounds that the bankruptcy clearly has to do with a different entity.
22
23 DATED: March 24, 2021                          TAULER SMITH LLP
24

25                                         By:    /s/ Robert Tauler
26
                                                  Robert Tauler
                                                  Attorneys for Plaintiff
27
                                                  ENTTech Media Group LLC

28                                          1
                           OBJECTION TO “NOTICE OF BANKRUPTCY”
     Case 2:20-cv-06298-JWH-E Document 98 Filed 03/24/21 Page 3 of 3 Page ID #:2605




 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on March 24, 2021, copies of the foregoing document were
 3 served by the Court’s CM/ECF system to all counsel of record in this action.
 4
 5 Dated: March 24, 2021                   TAULER SMITH, LLP
 6
 7                                         By: /s/ Robert Tauler
 8
                                               Robert Tauler

 9                                         Counsel for Plaintiff
10                                         ENTTECH MEDIA GROUP LLC

11
12
13
14
15
16

17
18
19
20
21
22
23
24

25
26
27
28                                           2
                            OBJECTION TO “NOTICE OF BANKRUPTCY”
